Case 2:06-cr-20411-RHC-SDP ECF No. 103, PageID.172 Filed 02/28/08 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                   Case No. 06-CR-20411-DT

D-1 - RUDOLPH DALRON WILLIAMS,
D-2 - FRANK PIERCE,
D-3 - DARRYL PIERCE,
D-4 - DERRICK YOUNG,
D-5 - CLARENCE JACKSON,

              Defendants.
                                                /

                                 SCHEDULING ORDER

       On February 26, 2008, the court conducted a status conference in the above-

captioned matter. During the conference, government counsel agreed that it was

necessary to schedule for each Defendant a hearing with the United States Attorney in

Detroit and committed to coordinate the calendars of the United States attorney and the

various defense attorneys so that the conferences can be completed on or before mid-

June. Following these hearings, the government agreed to urge the Department of

Justice to review the recommendation(s) emerging from these conferences before the

court’s next status conference, such review anticipated to be within about 60 days

following the last of the local United States Attorney conferences. Accordingly,

       IT IS ORDERED that the parties employ their best efforts to conclude

Defendants’ hearings with the United States Attorney’s office on or before June 16,

2008. If at any time counsel anticipate problems in meeting this deadline, counsel are

directed to notify the court immediately.
Case 2:06-cr-20411-RHC-SDP ECF No. 103, PageID.173 Filed 02/28/08 Page 2 of 2



          IT IS FURTHER ORDERED that, following the hearing, the government shall

promptly make its recommendation to the Department of Justice and employ its best

efforts to request review completion before the next status conference, which is to be

held on September 25, 2008 at 2:00 p.m.



                                                                S/Robert H. Cleland
                                                                ROBERT H. CLELAND
                                                                UNITED STATES DISTRICT JUDGE

Dated: February 28, 2008

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, February 28, 2008, by electronic and/or ordinary mail.


                                                                S/Lisa Wagner
                                                                Case Manager and Deputy Clerk
                                                                (313) 234-5522




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